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UNITED srATEs DISTRICT COURT ' ,
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INDIANAPOLIS DIvIsIoN M
AR 2 0 201@ `
UNITED sTATEs 0F AMERICA, § ,ND',SANCAL§§SS 3 %FF,CE
Plaintiff, ) D ANA
)
v. ) cAUsE No.
)
ADISA MIMMS, ) _
)1:1 8 'Cr' 9083 SEB -DML
Defendant. )
INDICTMENT
CoUNT 1

[ Convicted Felon in Possession of a Firearrn - 18 U.S.C. § 922(g)(l) ]

The Grand Jury charges that:

On or about March 3, 2018, in the Southern District of Indiana, Indianapolis Division, the
Defendant, ADISA MIMMS, having been previously convicted of a crime punishable by
imprisonment for a term exceeding one year,

To wit: Dealing in Cocaine or Narcotic, in Marion Cou:nty, Indiana, Superior

Court, on or about September 15, 2010; Possession of Cocaine or Narcotic, in

Marion County, Indiana, Superior Court, on or about December 14, 2004;

Possession of Cocaine, in Marion County, Indiana, Superior Court, on or about

October 31, 2000; Dealing in Cocaine or Narcotic, in Marion County, Indiana,

Superior Court, on or about July 28, 200(),

Did knowingly possess a iirearm, to wit: a SCCY, 9mm pistol, serial number 262136, said
firearm having been shipped and transported in interstate and foreign commerce,

All in violation of Title 18, United States Code, Section 922(g)(l).

 

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FORFEITURE ALLEGATION

l. The allegations in Count One of this Indictment are re-alleged as if fully set forth
here, for the purpose of giving the defendant notice of the United States’ intent to seek forfeiture
pursuant to Title 18, United States Code, Section 924, and Title 28, United States Code, Section
2461.

2. If convicted of the offense set forth in Count One of this Indictment, ADISA
MIMMS shall also forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d) and Title 28, United States Code, Section 2461(0), any firearm or ammunition involved in

or used in the offense of which he is convicted.

A TRUE BILL:

 

FOREPERSON

JOSH J. MINKLER
United States Attomey

/%J»M,>\

M. Kendra Kiump
Assistant United States Attorney

 

